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           EXHIBIT
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From:          Geraldine Yulo
To:            Kiley Grombacher; Leslie Joyner
Subject:       Miller, Rebecka vs. Plex, Inc. - JAMS Ref No. 5230000185
Date:          Friday, May 12, 2023 8:55:01 AM
Attachments:   image001.png


Dear Claimant Counsel:

Since the Fee Waiver was granted, filling fee has been assessed to Respondent. As such, your
payment of $250 is in queue for refund.

Best,

Geri


                                    Geraldine “Geri” Yulo
                                    Arbitration Practice Consultant
                                    Direct: 213-253-9711
                                    Email: GYulo@jamsadr.com

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